                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                       
                                August 6, 2015
                              No. 10-15-00017-CR
                            RICKY GENE JACKSON, JR.
                                      v.
                              THE STATE OF TEXAS
                                       
                                       
                        From the 85[th] District Court
                             Brazos County, Texas
                        Trial Court No. 11-00398-CRF-85
                                       
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JUDGMENT

This Court has reviewed the briefs of the parties and the record as relevant to the issues raised in this proceeding and finds that no reversible error is presented.  Accordingly, the trial court's judgment signed on January 15, 2015 is affirmed.
	A copy of this judgment will be certified by the Clerk of this Court and delivered to the trial court clerk for enforcement.
							PER CURIAM
						SHARRI ROESSLER, CLERK			

						By: ___________________________
							Nita Whitener, Deputy Clerk

